                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )     EDGAR/CARTER
                                               )
 v.                                            )     CASE NO. 1:07-CR-137-002
                                               )
 MANUEL INFANTE-ARROYO                         )

                                             ORDER

        On February 26, 2008, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Manuel Flores’ (“Defendant”)

 plea of guilty to Count One of the Indictment, to the extent it charges conspiracy to distribute

 500 grams or more of cocaine hydrochloride in violation of 841(a)(1) and (b)(1)(A) and 846, in

 exchange for the undertakings made by the government in the written plea agreement; (b) the

 Court adjudicate Defendant guilty of the charges set forth in Count One of the Indictment, to the

 extent it charges conspiracy to distribute 500 grams or more of cocaine hydrochloride in

 violation of 841(a)(1) and (b)(1)(A) and 846; (c) that a decision on whether to accept the plea

 agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

 sentencing in this matter. Neither party filed an objection within the given ten days. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation [Doc. No. 90] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, to the extent it charges

 conspiracy to distribute 500 grams or more of cocaine hydrochloride in violation of 841(a)(1)

 and (b)(1)(A) and 846, in exchange for the undertakings made by the government in the written

 plea agreement, is ACCEPTED;




Case 1:07-cr-00137-TRM-CHS           Document 101         Filed 03/17/08      Page 1 of 2       PageID
                                           #: 117
        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment, to the extent it charges conspiracy to distribute 500 grams or more of cocaine

 hydrochloride in violation of 841(a)(1) and (b)(1)(A) and 846;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN in custody pending sentencing on Monday, July 14,

 2008 at 1:30 pm.

        SO ORDERED.

        ENTER this 17th day of March, 2008.




                                      /s/ R. Allan Edgar
                                    R. ALLAN EDGAR
                              UNITED STATES DISTRICT JUDGE




                                                 2


Case 1:07-cr-00137-TRM-CHS           Document 101       Filed 03/17/08      Page 2 of 2       PageID
                                           #: 118
